UNITED STATES DISTRICT * COURINETRIGS GauURT

EASTERN DISTRICT OF WISC ROB LRCT NE

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UNITED STATES OF AMERICA,

Plaintiff, EL
Case No. 16-cRL 6 - CR ™ 0 2 1
ve [26 U.S.C. § 5861(d)]
SAMY MOHAMMED HAMZEH,
Defendant.
INDICTMENT
COUNT ONE

THE GRAND JURY CHARGES THAT:
On or about January 25, 2016, in the state and Eastern District of Wisconsin,
SAMY MOHAMMED HAMZEH,
knowingly received and possessed a firearm, an H&K MP-5 SD 9mm machinegun, serial
number S$93040, not registered to him in the National Firearms Registration and Transfer

Record, in violation of Title 26, United States Code, Section 5861(d).

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COUNT TWO
THE GRAND JURY FURTHER CHARGES THAT:
On.or about January 25, 2016, in the state and Eastern District of Wisconsin,
SAMY MOHAMMED HAMZEH,
knowingly received and possessed a firearm, an H&K MP-5 10mm machinegun, serial number
68-3049, not registered to him in the National Firearms Registration and Transfer Record, in

violation of Title 26, United States Code, Section 5861(d).

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COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:
On or about January 25, 2016, in the state and Eastern District of Wisconsin,
SAMY MOHAMMED HAMZEH,
knowingly received and possessed a firearm, an H&K silencer, serial number 93040, not
registered to him in the National Firearms Registration and Transfer Record, in violation of Title

26, United States Code, Section 5861(d).

A TRUE BILL:

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GREGORY @/ HAANSTAD
Acting United States Attorney

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